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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )            8:08CR61
                                                   )
       vs.                                         )             ORDER
                                                   )
RICHARD RIDPATH,                                   )
JOHN JANTZON and                                   )
AUGUSTIN RIOS,                                     )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motions of defendants Richard Ridpath
(Ridpath) and Augustin Rios (Rios) to withdraw their motions to compel (Filing Nos. 41 and
42). Ridpath and Rios also seek an extension of time to September 15, 2008, in which to
file pretrial motions. The motions will be granted.
       IT IS ORDERED:
       1.     Ridpath’s and Rios’s motions to withdraw their motions to compel (Filing Nos.
41 and 42) are granted. The motions to compel (Filing Nos. 27 and 29) shall be termed on
the docket. The July 3, 2008, hearing on the motions to compel is cancelled.
       2.     Ridpath’s and Rios’s motions to extend the time for pretrial motions (Filing
Nos. 41 and 42) are granted. The pretrial motion deadline for all defendants is
extended to September 15, 2008. The ends of justice have been served by granting such
motions and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motions, i.e., the time between July
2, 2008 and September 15, 2008, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendants' counsel
require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 2nd day of July, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
